Case 2:OO-cr-20253-STA Document 287 Filed 04/19/05 Page 1 of 2 Page|D 305

IN THE UNITED sTATEs DISTRICT coURT Fm? --j@
FoR THE wEsTERN DISTRICT oF TENNESSEE g _ dp _
wEsTERN DIvIsIoN OSHPRiQ PH a £»

HOBHWTH.D§'!FWO
CLEEK.LLS DIJ.CT

UNITED S'I`ATES OF AMERICA, : W.D- OF TN' M[:N.ileS
Plaintiff, *
* Cr. No. 00-20253-3
vs. *
ir
JUAN REYNA, *
:l'
Defendant. *

 

ORDER GRANTING CONTINUANCE OF SENTENCING DATE

 

The United States has moved for a continuance of April 28,
2005 supervised release hearing.

$L
For good Cause shown, it is so ORDERED this la day of

BM

J. ANIEL BREEN \\
Un' ed States District Judge

April, 2005.

¥'h?s document entered cm the docket sheet in compi‘:ance , _
mm qule 55 and/ur 32<b) FHCrP on ’!"¢/"6 “O 0267 7
.r _J_/""

   

UNITED `sTEATs DISTRICT COURT - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 287 in
case 2:00-CR-20253 Was distributed by faX, mail, or direct printing on
Apri120, 2005 to the parties listed.

 

 

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

